 Fill in this information to identify your case:


 Debtor 1           Doria Yvette Frias
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                               Northern District of California
 United States Bankruptcy Court for the: ___________________________________________

 Case number         15-51921
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                   
                                                                                                   X An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                    Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Member  Relations Coordinator
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Santa Clara Chamber of Commerce
                                                                     __________________________________           __________________________________


                                          Employer’s address        1850 Warburton Avenue
                                                                   ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Santa Clara, CA 95050
                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     4,065.02                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     4,065.02
                                                                                              $__________               0.00
                                                                                                                       $____________



               Case: 18-51921
Official Form 106I
                                         Doc# 24          Filed:Schedule
                                                                 11/01/18       Entered: 11/01/18 12:38:51
                                                                         I: Your Income
                                                                                                                               Page 1 of 8page 1
Debtor 1          Doria Yvette Frias
                  _______________________________________________________                                                                         15-51921
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.     $___________
                                                                                                                             4,065.02              $_____________
                                                                                                                                                    0.00

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      974.01
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      100.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      1,074.01
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      2,991.01
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                            2,991.01
                                                                                                                           $___________     +       0.00
                                                                                                                                                   $_____________        = $_____________
                                                                                                                                                                            2,991.01

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      2,991.01
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:

            Case: 18-51921
  Official Form 106I
                                                  Doc# 24                 Filed:Schedule
                                                                                 11/01/18       Entered: 11/01/18 12:38:51
                                                                                         I: Your Income
                                                                                                                                                            Page 2 of 8page 2
 Fill in this information to identify your case:

 Debtor 1          Doria Yvette Frias
                   __________________________________________________________________
                                                                                                      Check if this is:
                     First Name              Middle Name              Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                      
                                                                                                      X An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                              Northern District of California
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         15-51921
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                      4.
                                                                                                                                   2,000.00
                                                                                                                                  $_____________________

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

          Case:
 Official Form 106J18-51921               Doc# 24          Filed: 11/01/18
                                                             Schedule            Entered: 11/01/18 12:38:51
                                                                      J: Your Expenses                                                Page 3 of 8page 1
Debtor 1         Doria Yvette Frias
                 _______________________________________________________                 Case number (if known)15-51921
                                                                                                               _____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                     Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                               5.
                                                                                                                     0.00
                                                                                                                    $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                   6a.     0.00
                                                                                                                    $_____________________
      6b.   Water, sewer, garbage collection                                                                 6b.     0.00
                                                                                                                    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                   6c.     225.00
                                                                                                                    $_____________________
      6d.   Other. Specify: _______________________________________________                                  6d.     0.00
                                                                                                                    $_____________________

 7. Food and housekeeping supplies                                                                           7.      300.00
                                                                                                                    $_____________________

 8. Childcare and children’s education costs                                                                 8.      0.00
                                                                                                                    $_____________________
 9. Clothing, laundry, and dry cleaning                                                                      9.      75.00
                                                                                                                    $_____________________
10.   Personal care products and services                                                                    10.     100.00
                                                                                                                    $_____________________
11.   Medical and dental expenses                                                                            11.     0.00
                                                                                                                    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     0.00
                                                                                                                    $_____________________
      Do not include car payments.                                                                           12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.     0.00
                                                                                                                    $_____________________
14.   Charitable contributions and religious donations                                                       14.     0.00
                                                                                                                    $_____________________
                                                                                                                                                  16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                    15a.    0.00
                                                                                                                    $_____________________
      15b. Health insurance                                                                                  15b.    100.00
                                                                                                                    $_____________________
      15c. Vehicle insurance                                                                                 15c.    97.00
                                                                                                                    $_____________________
      15d. Other insurance. Specify:_______________________________________                                  15d.    0.00
                                                                                                                    $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                     0.00
                                                                                                                    $_____________________
      Specify: ________________________________________________________                                      16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                        17a.    0.00
                                                                                                                    $_____________________

      17b. Car payments for Vehicle 2                                                                        17b.    0.00
                                                                                                                    $_____________________

      17c. Other. Specify:_______________________________________________                                    17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                    17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.    0.00
                                                                                                                    $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                         19.    0.00
                                                                                                                    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                       20a.    0.00
                                                                                                                    $_____________________

      20b. Real estate taxes                                                                                 20b.    0.00
                                                                                                                    $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                      20c.    0.00
                                                                                                                    $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                          20d.    0.00
                                                                                                                    $_____________________

      20e. Homeowner’s association or condominium dues                                                       20e.    0.00
                                                                                                                    $_____________________



           Case:
  Official Form 106J18-51921                 Doc# 24          Filed: 11/01/18
                                                                Schedule            Entered: 11/01/18 12:38:51
                                                                         J: Your Expenses                                Page 4 of 8page 2
Debtor 1         Doria Yvette Frias
                 _______________________________________________________                      Case number (if known)15-51921
                                                                                                                    _____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                          0.00

22.    Calculate your monthly expenses.
       22a. Add lines 4 through 21.
                                                                                                                          2,897.00
                                                                                                                         $_____________________
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.
                                                                                                                          2,897.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           2,991.01
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           2,897.00
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           94.01
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




           Case:
  Official Form 106J18-51921                 Doc# 24          Filed: 11/01/18
                                                                Schedule            Entered: 11/01/18 12:38:51
                                                                         J: Your Expenses                                     Page 5 of 8page 3
 Fill in this information to identify your case:

 Debtor 1          Doria                   Yvette                Frias
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Northern District of California
                                         ______________________________________

 Case number         15-51921
                     ___________________________________________                                                                                                            Check if this is an
                                                                                                                                                                           X
                     (If known)                                                                                                                                               amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................        $ 0.00
                                                                                                                                                                             ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................             $ 3,408.00
                                                                                                                                                                             ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                           $ 3,408.00
                                                                                                                                                                             ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                        $ 0.00
                                                                                                                                                                             ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                           $ 0.00
                                                                                                                                                                             ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                       +   $ 303,261.00
                                                                                                                                                                             ________________


                                                                                                                                     Your total liabilities                $ 303,261.00
                                                                                                                                                                             ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                  $ 2,991.01
                                                                                                                                                                             ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                     $ 2,897.00
                                                                                                                                                                             ________________




           Case:
Official Form      18-51921
              106Sum                            Doc# 24 of Filed:
                                                 Summary          11/01/18
                                                           Your Assets             Entered:
                                                                       and Liabilities          11/01/18
                                                                                       and Certain             12:38:51
                                                                                                   Statistical Information                                            Page 6 page
                                                                                                                                                                              of 81 of 2
Debtor 1         Doria        Yvette           Frias
                 _______________________________________________________                                                 15-51921
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

    
    X Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    OfficialCase:   18-51921
             Form 106Sum                      Doc# 24 of Filed:
                                               Summary          11/01/18
                                                         Your Assets             Entered:
                                                                     and Liabilities          11/01/18
                                                                                     and Certain             12:38:51
                                                                                                 Statistical Information             Page 7 page
                                                                                                                                             of 82 of 2
Fill in this information to identify your case:

Debtor 1          Doria Yvette Frias
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Northern District of California
                                        _______________________________________
Case number         15-51921
                    ___________________________________________
(If known)
                                                                                                                                              
                                                                                                                                              X Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/Doria Yvette Frias
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 11/01/2018
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec
             Case:   18-51921                  Doc# 24         Declaration About an Individual
                                                                Filed: 11/01/18        Entered:Debtor’s Schedules12:38:51
                                                                                                    11/01/18                             Page 8 of page
                                                                                                                                                    8 1
